. Case 4:19-cv-05041

a
U.S. Department of Justice

United States Marshals Service

  
 

Document 53 Filed on 10/22/21 in TXSD Page 1 ex

PROCESS RECEIPT AND RETURN

Instructions for Service of Process by U.S. Marshal"

 

 

 

 

PLAINTIFF UGE STATIOO fall el- | COURT CASE NUMBER
Lilly Anne Hopkins MOL NCT ~T AM Bho 2 | 4:19-0v-50414 J Dede cesogel
DEFENDANT TYPE OF PROCESS
Bobby Lumpkin, et al SOUTHERN DIST. S/ TX Order, Suntiad States Courts
NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY eXASDEMN

Lannette Linthicum,

 

ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)
2 Financial Plaza Suite #625, Huntsville, TX 77340

SERVE
AT

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW

OCT 22 2021

 

United States Courts
515 Rusk St.
Houston, TX 77002

f pragess to be
ss Of Cout

Number of parties to be
served in this case

 

Check for service
on U.S.A.

 

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,

All Telephone Numbers, and Estimated Times Available for Service):

 

Signature of Attorney other Originator requesting service on behalf of: [] PLAINTIFF

[J DEFENDANT

TELEPHONE NUMBER DATE

 

 

 

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE

 

 

 

 

 

Tacknowledge receipt for the total] Total Process | District of District to Signature of Authorized USMS Deputy or Clerk Date
number of process indicated. Origin Serve

(Sign only for USM 285 if more “he, Ae Ee a d

than one USM 285 is submitted) l 74 No. *) ‘| y= ToiTe be i 7 / dod]

 

 

I hereby certify and return that I [7] have personally served , [7] have legal evidence of service,

ave executed as shown in "Remarks", the process described on the

ce
individual, company, corporation, etc., at the address shown above on the on the individual, vee fave execu etc. shown at the address inserted below.

 

oO T hereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)

 

“Name and title of individual served (if not shown above)

Date Time

jo Jus f2j| J2S Bem

 

 

Address (complete only different than shown above)

Signature of U.S. Marshal or Deputy

SSNS

 

 

 

 

 

 

 

 

 

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c2CACTHe Iv mi
Service Fee Total Mileage Charges Forwarding Fee Total Charges . Advance Deposits | Amount owed to U.S. Marshal* or
x (including endeavors} . (Amount of Refund*)
REMARKS . - - * e a &
Cert prasl 0y4 32> f§0 Oud o108 24F4

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@ Ws pm. . Gee afte)

 

PRIOR VERSIONS OF THIS FORM ARE OBSOLETE

Form USM-285
Rev. 11/18
10/21/21, 12:47PM Case 4:19-cv-05041 Document o%pdibee OnsdOtAaidge eslkSSD Page 2 of 3

FAQs >

USPS Tracking’

Track Another Package +

Remove X

Tracking Number: 70192280000207082989

Your item was delivered to the front desk, reception area, or mail room at 2:55 pm on October 12,
2021 in HOUSTON, TX 77002.

 

 

Y Delivered, Front Desk/Reception/Mail Room =
October 12, 2021 at 2:55 pm 8.
HOUSTON, TX 77002 2
Get Updates v
Text & Email Updates Vv
Tracking History Vv
Vv

 

Product Information

See Less A

Can’t find what you’re looking for?
Go to our FAQs section to find answers to your tracking questions.

https://tools.usps.com/go/TrackConfirmAction?qtc_tLabels1=70192280000207082989 41/2
 
  

 

in TXSD Page 3 of 3

  

COMPLETE THIS SECTION ON DELIVERY

  

  
    
 

SENDER: COMPLETE THIS SECTION

      
   
  

 

 

 

 

= Complete items 1, 2, and 3, A. Signature
m Print your name and address on the reverse ¢ Agent
so that we can return the card to you. X lu, 5 IM Ae hats Addresse:
™ Attach this card to the back of the mailpiece, | B. Received by (Printed Name) C. Date of Deliven
or on the front if space permits. Yd Maes hn C7 5 |40 02. e%

 

 

 

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Lannette Linthicum
- 9 Financial Plaza Suite # 625

 

 

 

- Huntsville TX 77340 Ade
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